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 7

 8

 9                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-CR-0322GEB
                      Plaintiff,       )
12                                     ) STIPULATION REGARDING
                                       ) PRETRIAL RELEASE
13
           v.                          ) SUPERVISION;
14                                     ) [PROPOSED] FINDINGS AND
                                       ) ORDER
15
     ANDREY LUNGU                      )
16                                     )
                      Defendants.      )
17
     __________________________________) Judge: Hon. Edmund F. Brennan
18

19
                                         STIPULATION

20         It is hereby stipulated that the bond posted as a part of the pretrial release
21   conditions be modified to remove Yelena Lungu and be replaced by Valerily Lungu. Mr.
22
     Andrey Lungu and Yelena Lungu are currently going through divorce proceedings. Mrs.
23

24
     Lungu requested she be removed from the bond. As such, all parties are suggesting and

25   are in agreement that Mrs. Lungu be removed from the bond, and that the defendant’s
26
     father, Valeriy Lungu, be substituted in as the surety on the bond. The bond is a $50,000
27
     unsecured bond. Pretrial Services has spoken with Valeriy Lungu and believes he is an
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 1   appropriate and suitable surety. Mr. Lungu understands the risks involved if the defendant
 2
     willfully fails to appear in this matter. Andre Lungu is scheduled for Sentencing Hearing
 3
     before the Honorable Garland E. Burrell, Jr. U.S. District Judge, on October 25, 2019 (but
 4

 5   this hearing may be continued). All other conditions of pretrial release are to remain in
 6
     force and effect.
 7
     IT IS SO STIPULATED.
 8

 9

10   Dated: October 22, 2019                   Respectfully submitted,
11

12                                             /s/ Kelly Babineau
13
                                               KELLY BABINEAU
                                               Attorney for Andrey Lungu
14

15
     Dated: October 22, 2019                   /s/ Heiko Coppola
16                                             HEIKO COPPOLA
                                               Assistant U.S. Attorney
17

18
     Dated: October 22, 2019                   /s/ Taifa Gaskins
19                                             TAIFA GASKINS
20                                             U.S. Pretrial Release Services Officer

21

22                                          ORDER
23

24          IT IS SO FOUND AND ORDERED this 22nd day of October, 2019.
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